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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                             No. C 05-00167 WHA
                                                                         11
United States District Court




                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                  ORDER RE EX PARTE REQUEST
                                                                         13                                                         FOR SUBPOENA DUCES TECUM
                                                                              EDGAR DIAZ, RICKEY ROLLINS,
                                                                         14   DON JOHNSON, ROBERT CALLOWAY,
                                                                              DORNELL ELLIS, EMILE FORT,
                                                                         15   CHRISTOPHER BYES, PARIS
                                                                              RAGLAND, RONNIE CALLOWAY,
                                                                         16   ALLEN CALLOWAY, and REDACTED
                                                                              DEFENDANTS NOS. ONE & TWO,
                                                                         17                 Defendants.
                                                                         18                                                /

                                                                         19          The Court has received Mr. Thorman’s ex parte declaration and related documents on
                                                                         20   behalf of defendant Emile Fort for the issuance of the a subpoena duces tecum. Mr. Thorman's
                                                                         21   declaration explained that the government does not oppose issuance of the subpoena. This
                                                                         22   order AUTHORIZES issuance of the subpoena attached to Mr. Thorman’s declaration filed on
                                                                         23   September 29, 2006.
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                                                                         25          IT IS SO ORDERED.
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                                                                         27   Dated: October 2, 2006
                                                                         28                                                    WILLIAM ALSUP
                                                                                                                               UNITED STATES DISTRICT JUDGE
